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 VXFK SURFHGXUHV LQFOXGLQJ D VWDWHPHQW RI WKH FODLPDQW¶V ULJKW WR EULQJ D FLYLO DFWLRQ XQGHU
 6HFWLRQ D RI(5,6$IROORZLQJWKHGHQLDORIDFODLPRQUHYLHZ

                    F      $ FODLPDQW PD\ UHTXHVW D UHYLHZ E\ WKH $GPLQLVWUDWRU RI D GHFLVLRQ
 GHQ\LQJDFODLPLQZULWLQJZLWKLQGD\VIROORZLQJUHFHLSWRIWKHGHQLDO$OOVXFKUHYLHZVZLOO
 EHGHFLGHGLQZULWLQJE\WKH$GPLQLVWUDWRUZLWKLQGD\VDIWHUUHFHLSWRIWKHUHTXHVWIRUUHYLHZ
 ,IWKH$GPLQLVWUDWRUGHWHUPLQHVWKDWDQH[WHQVLRQRIWLPHIRUSURFHVVLQJWKHUHYLHZLVUHTXLUHGLW
 PD\H[WHQGWKHGDWHE\ZKLFKDGHFLVLRQLVUHTXLUHGWRGD\VDIWHUWKHUHTXHVWIRUUHYLHZLV
 VXEPLWWHG LI LW QRWLILHV WKH FODLPDQW LQ ZULWLQJ RI WKH H[WHQVLRQ SULRU WR WKH WHUPLQDWLRQ RI WKH
 LQLWLDOGD\SHULRGLQFOXGLQJWKHVSHFLDOFLUFXPVWDQFHVUHTXLULQJDQH[WHQVLRQRIWLPHDQGWKH
 GDWHE\ZKLFKLWH[SHFWVWRUHQGHUDGHFLVLRQ

                    G      ,QFRQQHFWLRQZLWKDUHYLHZRIDGHQLHGFODLPIRUEHQHILWVDFODLPDQWZLOO
 KDYH WKH RSSRUWXQLW\ WR VXEPLW ZULWWHQ FRPPHQWV GRFXPHQWV UHFRUGV DQG RWKHU LQIRUPDWLRQ
 UHODWLQJ WR WKH FODLP IRU EHQHILWV DQG EH SURYLGHG RQ UHTXHVW DQG IUHH RI FKDUJH UHDVRQDEOH
 DFFHVV WR DQG FRSLHV RI DOO GRFXPHQWV UHFRUGV DQG RWKHU LQIRUPDWLRQ UHOHYDQW WR KLV FODLP IRU
 EHQHILWV7KHUHYLHZRIDGHQLHGFODLPZLOOWDNHLQWRDFFRXQWDOOFRPPHQWVGRFXPHQWVUHFRUGV
 DQGRWKHULQIRUPDWLRQVXEPLWWHGE\WKHFODLPDQWUHODWHGWRWKHFODLPZLWKRXWUHJDUGWRZKHWKHU
 VXFK LQIRUPDWLRQ ZDV VXEPLWWHG RU FRQVLGHUHG LQ WKH LQLWLDO UHYLHZ RI WKH FODLP  ,I D FODLP LV
 GHQLHG RQ UHYLHZ WKH ZULWWHQ QRWLFH RI WKH GHQLDO ZLOO VSHFLI\ L  WKH VSHFLILF UHDVRQV IRU WKH
 GHQLDO LL  UHIHUHQFH WR WKH VSHFLILF 3ODQ SURYLVLRQV RQ ZKLFK WKH GHQLDO LV EDVHG DQG LLL  D
 VWDWHPHQWWKDWWKHFODLPDQWLVHQWLWOHGWRUHFHLYHRQUHTXHVWDQGIUHHRIFKDUJHUHDVRQDEOHDFFHVV
 WRDQGFRSLHVRIDOOGRFXPHQWVUHFRUGVDQGRWKHULQIRUPDWLRQUHOHYDQWWRKLVFODLPIRUEHQHILWV

                 H       7KHFODLPDQWPD\KDYHDQDXWKRUL]HGUHSUHVHQWDWLYHWRDFWRQKLVEHKDOILQ
 SXUVXLQJ D EHQHILW FODLP RU DSSHDO RI WKH GHQLDO RI WKH EHQHILW  )RU D UHSUHVHQWDWLYH WR EH
 UHFRJQL]HGDVDFWLQJRQWKHFODLPDQW¶VEHKDOIWKHFODLPDQWPXVWSURYLGHWKHQDPHDGGUHVVDQG
 SKRQH QXPEHU RI KLV DXWKRUL]HG UHSUHVHQWDWLYH LQ ZULWLQJ WR WKH $GPLQLVWUDWRU DQG D VWDWHPHQW
 WKDWWKHUHSUHVHQWDWLYHLVDXWKRUL]HGWRDFWRQKLVEHKDOIFRQFHUQLQJKLVFODLPIRUEHQHILWDQGLI
 DSSOLFDEOHDQDSSHDORIWKHGHQLDORIWKHFODLP

                                                 $57,&/(9,
                                                  )81',1*

 7KH 3ODQ LV DQ XQIXQGHG DUUDQJHPHQW  1R SRUWLRQ RI DQ\ IXQGV RI WKH &RPSDQ\ RU DQ\ RI LWV
 DIILOLDWHVLV UHTXLUHGWREHVHWDSDUWIRU D 3DUWLFLSDQW RU %HQHILFLDU\$FFRXQWVZLOOEHSD\DEOH
 IURPWKH&RPSDQ\¶VJHQHUDODVVHWVDQGWKHULJKWVRID3DUWLFLSDQWRU%HQHILFLDU\WRKLV $FFRXQW
 LVOLPLWHGWRWKRVHRIDJHQHUDOXQVHFXUHGFUHGLWRURIWKH&RPSDQ\ZKRKDVDFODLPHTXDOWRWKH
 YDOXHRIWKH3DUWLFLSDQW¶V$FFRXQW

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 7KLV3ODQPD\RQO\EHDPHQGHGRUWHUPLQDWHGXSRQWKHZULWWHQDJUHHPHQWRIWKH&RPSDQ\DQG
 WKH3DUWLFLSDQWV+RZHYHUQRDPHQGPHQWRUWHUPLQDWLRQPD\UHVXOWLQDQDFFHOHUDWLRQRIEHQHILW
 SD\PHQW H[FHSWDVSHUPLWWHGE\6HFWLRQ$RIWKH&RGH 



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 HQWLWOHGWRUHFHLYHDQ\EHQHILWVXQGHUWKH3ODQLVDPLQRURULVGHHPHGE\WKH$GPLQLVWUDWRURULV
 DGMXGJHGWREHOHJDOO\LQFDSDEOHRIJLYLQJYDOLGUHFHLSWDQGGLVFKDUJHIRUVXFKEHQHILWVWKH\ZLOO
 EHSDLGWRWKHSHUVRQRULQVWLWXWLRQWKH$GPLQLVWUDWRUGHVLJQDWHVRUWRDGXO\DSSRLQWHGJXDUGLDQ
 6XFK SD\PHQW ZLOO WR WKH H[WHQW PDGH EH GHHPHG D FRPSOHWH GLVFKDUJH RI DQ\ SD\PHQW GXH
 XQGHUWKH3ODQ

             1R &RQWUDFW  7KH 3ODQ ZLOO QRW EH GHHPHG D FRQWUDFW RI HPSOR\PHQW ZLWK WKH
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 DFFRXQW RI WKH 3DUWLFLSDQW RU DQ\ %HQHILFLDU\ ZLOO EH VXEMHFW LQ DQ\ PDQQHU WR DQWLFLSDWLRQ
 DOLHQDWLRQ VDOH WUDQVIHU DVVLJQPHQW SOHGJH HQFXPEUDQFH RU FKDUJH DQG DQ\ DWWHPSW WR
 DQWLFLSDWHDOLHQDWHVHOOWUDQVIHUDVVLJQSOHGJHHQFXPEHURUFKDUJHWKHVDPHZLOOEHYRLG1R
 DPRXQWSD\DEOHWRRUKHOGXQGHUWKH3ODQIRUWKHDFFRXQWRIWKH3DUWLFLSDQWZLOOEHVXEMHFWWRDQ\
 OHJDOSURFHVVRIOHY\RUDWWDFKPHQW

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 ODZDQGWUDQVPLWVXFKZLWKKHOGDPRXQWVWRWKHDSSURSULDWHWD[LQJDXWKRULW\,QOLHXWKHUHRIWKH
 &RPSDQ\ ZLOO KDYH WKH ULJKW WR WKH H[WHQW SHUPLWWHG E\ ODZ WR ZLWKKROG WKH DPRXQW RI VXFK
 WD[HV IURP DQ\ RWKHU VXPV GXH IURP WKH &RPSDQ\ WR WKH 3DUWLFLSDQW RQ VXFK WHUPV DQG
 FRQGLWLRQVDVWKH$GPLQLVWUDWRUPD\SUHVFULEH

              *RYHUQLQJ/DZ7KH3ODQZLOOEHLQWHUSUHWHGFRQVWUXHGDQGDGPLQLVWHUHGXQGHU
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 WKHH[WHQWWKDW(5,6$DQGRWKHUIHGHUDOODZVGRQRWDSSO\

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 FRQYHQLHQFHDQGIRUUHIHUHQFHDQGLQQRZD\GHILQHOLPLWHQODUJHRUGHVFULEHWKHVFRSHRULQWHQW
 RIWKH3ODQRULQDQ\ZD\DIIHFWWKHFRQVWUXFWLRQRIDQ\SURYLVLRQRIWKH3ODQ

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 LQYDOLGLW\RUXQHQIRUFHDELOLW\ZLOOQRWDIIHFWDQ\RWKHUSURYLVLRQRIWKH3ODQDQGWKH3ODQZLOOEH
 FRQVWUXHGDQGHQIRUFHGDVLIVXFKSURYLVLRQKDGQRWEHHQLQFOXGHG

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 WKHFXUUHQWDQGSURSHUDGGUHVVIRUWKHPDLOLQJRIQRWLFHVDQGGHOLYHU\RISD\PHQWV$Q\QRWLFH
 UHTXLUHG RU SHUPLWWHG WR EH JLYHQ ZLOO EH GHHPHG JLYHQ LI GLUHFWHG WR WKH SHUVRQ WR ZKRP
 DGGUHVVHGDWVXFKDGGUHVVDQGPDLOHGE\UHJXODU8QLWHG6WDWHVILUVWFODVVPDLOSRVWDJHSUHSDLG
 ,IDQ\LWHPPDLOHGWRVXFKDGGUHVVLVUHWXUQHGDVXQGHOLYHUDEOHWRWKHDGGUHVVHHPDLOLQJZLOOEH
 VXVSHQGHGXQWLOWKH3DUWLFLSDQW IXUQLVKHVWKHSURSHUDGGUHVV

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 %XVLQHVV RU DQ\ SDUWLFXODU ILQDQFLDO UHVXOW RU SD\RXW XQGHU WKLV 3ODQ QRU XQGHUWDNLQJ RU
 FRPPLWWLQJWRLQYHVWDGGLWLRQDOFDSLWDORUUHVRXUFHVLQWKH%XVLQHVV

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 PDVFXOLQHIHPLQLQHRUQHXWHUDVWKHLGHQWLW\RIWKHSHUVRQUHTXLUHV$VWKHFRQWH[WPD\UHTXLUH
 WKHVLQJXODUPD\EHUHDGDVWKHSOXUDODQGWKHSOXUDODVWKHVLQJXODU

                  7KH3ODQLVLQWHQGHGWRFRPSO\ZLWK6HFWLRQ$RIWKH&RGH&RQVLVWHQWZLWK
 WKDWLQWHQWWKH3ODQZLOOEHLQWHUSUHWHGLQDPDQQHUFRQVLVWHQWZLWK6HFWLRQ$ RIWKH&RGH,I
 DQ\ SURYLVLRQ WKDW LV QHFHVVDU\ IRU WKH 3ODQ WR FRPSO\ ZLWK 6HFWLRQ $ RI WKH &RGH LV
 GHWHUPLQHG E\ WKH $GPLQLVWUDWRU LQ LWV VROH GLVFUHWLRQ WR KDYH EHHQ RPLWWHG VXFK RPLWWHG
 SURYLVLRQZLOOEHGHHPHGLQFOXGHGLQWKH3ODQ&RPSDQ\DJUHHVWRKROGKDUPOHVVDQGLQGHPQLI\
 3DUWLFLSDQWIRUDOODGGLWLRQDOWD[HVLQWHUHVWDQGSHQDOWLHV3DUWLFLSDQWPD\LQFXULQWKHHYHQWWKLV
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  3DUWLFLSDQW                                                   (FRQRPLF,QWHUHVW

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                                        3XUFKDVH3ULFH&DOFXODWLRQ

         7KHWDEOHEHORZSURYLGHVDQH[DPSOHRIWKHFDOFXODWLRQRIWKH,QLWLDO3XUFKDVH3ULFHXVLQJD
 PXOWLSOHRI6HOOHU¶VQHWLQFRPHIRUWKHPRQWKSHULRGWKDWHQGHGRQ0D\

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                                           1HW%RRN9DOXH&DOFXODWLRQ
                                                                                                      $GMXVWHGERRN
                                              DVRI                          1RQ%RRN                          DVRI
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 6HFWLRQ  RI WKH &RGH DQG WKH 7UHDVXU\ 5HJXODWLRQV WKHUHXQGHU DQG VSHFLILFDOO\ LQ DFFRUGDQFH
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        7+,6 $0(1'0(17 $1' &/$5,),&$7,21 $*5((0(17 WKLV ³$JUHHPHQW´  LV
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          2QH (DUQ2XW ZKLFK (DUQ2XW 3D\PHQW VKDOO QRW H[FHHG WKH GLIIHUHQFH EHWZHHQ 7HQ
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 DPRQJWKH3ULQFLSDOVEDVHGRQWKHLU3URSRUWLRQDO3HUFHQWDJHSURYLGHGKRZHYHU
                  L      LQ WKH HYHQW D 3ULQFLSDO YROXQWDULO\ WHUPLQDWHV KLV HPSOR\PHQW ZLWK WKH
        &RPSDQ\ EHWZHHQ WKH &ORVLQJ DQG -XQH   VXFK 3ULQFLSDO VKDOO QRW EH HQWLWOHG WR
        UHFHLYH KLV 3URSRUWLRQDO 3HUFHQWDJH RI WKH (DUQ2XW 3D\PHQWV DQG WKH 3URSRUWLRQDO
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        VKDOO EH LQFUHDVHG E\ DGGLQJ DQ HTXDO SRUWLRQ RI WKH 3URSRUWLRQDO 3HUFHQWDJH KHOG E\ WKH
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